         Case 4:23-cv-00005-WTM-CLR Document 18 Filed 02/14/23 Page 1 of 3




                              IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF GEORGIA
                                      SAVANNAH DIVISION

 J.K., a minor, by and through his mother
 LaKeisha Hamilton; and J.J. and K.M. by and
 through their mother, Tauretta McCray,

                                    Plaintiffs,
                                                                   CIVIL ACTION NO.
                   v.                                              4:23-CV-005-WTM-CLR

  EFFINGHAM              COUNTY    SCHOOL
  DISTRICT;
  BOARD MEMBER F. LAMAR ALLEN, in
  his official capacity;
  BOARD MEMBER VICKIE DECKER, in her
  official capacity;
  BOARD MEMBER JAN LANDING, in her
  official capacity;
  BOARD MEMBER LYNN ANDERSON, in
  her official capacity;
  BOARD MEMBER BEN JOHNSON, in his
  official capacity;
  DR. YANCY FORD, in his official capacity,

                                       Defendants.

                         PLAINTIFFS’ NOTICE OF VOLUNTARY DISMISSAL

        Plaintiffs recently retained undersigned counsel, who are evaluating the extensive facts and harms at issue

and assessing the full scope of potential parties involved. After their preliminary investigation, undersigned counsel

expect to file a new and more comprehensive complaint, in accordance with the Federal Rules of Civil Procedure

and Local Rules of this Court.

        In light of these developments, pursuant to Federal Rule of Civil Procedure 41a)(1)(A)(i), Plaintiffs J.K., J.J.

and K.M. voluntarily dismiss this action without prejudice. Dismissal is proper under Rule 41(a)(1)(A)(i) because

Defendants have neither served an answer nor a motion for summary judgment.
Case 4:23-cv-00005-WTM-CLR Document 18 Filed 02/14/23 Page 2 of 3



Respectfully submitted this 14th day of February, 2023.




                             /s/ Nneka Ewulonu
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                             Counsel for Plaintiffs




                                         2
      Case 4:23-cv-00005-WTM-CLR Document 18 Filed 02/14/23 Page 3 of 3




                                CERTIFICATE OF SERVICE

       I hereby certify that I have this day served Defendants via email in accordance with LR 5.1

of the Southern District of Georgia.

       This 14th day of February, 2023.

                                            /s/ Nneka Ewulonu
                                            Nneka Ewulonu
                                            Georgia Bar No. 373718




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